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                                    IN THE UNITED STATES BANKRUPTCY COURT
                                         FOR THE DISTRICT OF DELAWARE


             In re:                                                         Chapter 11

             Big Village Holdings LLC, et al.,1                             Case No. 23-10174 (CTG)

                                                 Debtors.                   (Jointly Administered)

                                                                            Hearing Date: March 8, 2023 at 3:00 p.m. (ET)
                                                                            Objection Deadline: March 1, 2023 at 4:00 p.m. (ET)

                                                                            Ref. Docket No. 14



                                                        NOTICE OF MOTION

         TO:          (I) THE OFFICE OF THE UNITED STATES TRUSTEE FOR THE DISTRICT OF
                      DELAWARE; (II) COUNSEL TO THE STALKING HORSE PURCHASERS; (III) ALL
                      PARTIES KNOWN BY THE DEBTORS TO ASSERT A LIEN OR ENCUMBRANCE
                      ON ANY OF THE ASSETS; (IV) ALL PERSONS KNOWN OR REASONABLY
                      BELIEVED TO HAVE ASSERTED AN INTEREST OR CLAIM IN ANY OF THE
                      ASSETS; (V) ALL PERSONS KNOWN OR REASONABLY BELIEVED TO HAVE
                      EXPRESSED AN INTEREST IN ACQUIRING ALL OR A SUBSTANTIAL PORTION
                      OF THE ASSETS WITHIN THE ONE (1) YEAR PRIOR TO THE PETITION DATE;
                      (VI) THE OFFICE OF THE UNITED STATES ATTORNEY FOR THE DISTRICT OF
                      DELAWARE; (VII) THE OFFICE OF THE ATTORNEY GENERAL IN EACH STATE
                      IN WHICH THE DEBTORS HAVE OPERATED; (VIII) THE OFFICE OF THE
                      SECRETARY OF STATE IN EACH STATE IN WHICH THE DEBTORS HAVE
                      OPERATED; (IX) THE INTERNAL REVENUE SERVICE AND ALL STATE AND
                      LOCAL TAXING AUTHORITIES IN THE STATES IN WHICH THE DEBTORS
                      HAVE OR MAY HAVE ANY TAX LIABILITY; (X) ALL ENVIRONMENTAL
                      AUTHORITIES HAVING JURISDICTION OVER ANY OF THE ASSETS,
                      INCLUDING THE ENVIRONMENTAL PROTECTION AGENCY; (XI) THE
                      FEDERAL TRADE COMMISSION; (XII) THE UNITED STATES ATTORNEY
                      GENERAL/ANTITRUST DIVISION OF DEPARTMENT OF JUSTICE; (XIII) THE
                      DEBTORS’ LARGEST UNSECURED CREDITORS (EXCLUDING INSIDERS); AND
                      (XIV) ALL OTHER PARTIES THAT HAVE FILED A NOTICE OF APPEARANCE
                      AND DEMAND FOR SERVICE OF PAPERS IN THE CHAPTER 11 CASES AS OF
                      THE DATE HEREOF



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               The Debtors in these chapter 11 cases, along with the last four digits of their respective federal tax identification
             numbers, are: Big Village Holding LLC (6595); Big Village Group Holdings LLC (5882); Big Village Group, Inc.
             (6621); Big Village Insights, Inc. (8960); Big Village Media LLC (7288); EMX Digital, Inc. (5543); Big Village
             USA Corporation, Inc. (3414); Big Village Agency, LLC (0767); Balihoo, Inc. (9666); Deep Focus, Inc. (8234);
             Trailer Park Holdings Inc. (1447). The Debtors’ service address is 301 Carnegie Center, Suite 301, Princeton, NJ
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                 PLEASE TAKE NOTICE that, on February 8, 2023, the above-captioned debtors and
         debtors in possession (collectively, the “Debtors”), filed the Debtors' Motion for Entry of (A) an
         Order (I) Scheduling a Hearing on the Approval of the Sale of All or Substantially All of the
         Debtors' Assets Free and Clear of All Encumbrances Other than Assumed Liabilities and
         Permitted Encumbrances, and the Assumption and Assignment of Certain Executory Contracts
         and Unexpired Leases, (II) Approving Certain Bid Procedures, Bid Protections, and Assumption
         and Assignment Procedures, and the Form and Manner of Notice Thereof, and (III) Granting
         Related Relief; and (B) an Order (I) Approving Asset Purchase Agreements, (II) Authorizing the
         Sales of All or Substantially All of the Debtors' Assets Free and Clear of All Encumbrances Other
         than Assumed Liabilities and Permitted Encumbrances, (III) Authorizing the Assumption and
         Assignment of Certain Executory Contracts and Unexpired Leases, and (IV) Granting Related
         Relief [Docket No. 14] (the “Motion”) with the United States Bankruptcy Court for the District of
         Delaware (the “Court”).2

                 PLEASE TAKE FURTHER NOTICE that any responses or objections to the Motion
         must be at or before March 1, 2023 at 4:00 p.m. (ET) (the “Objection Deadline”) with the United
         States Bankruptcy Court for the District of Delaware, 824 N. Market Street, 3rd Floor,
         Wilmington, Delaware 19801. At the same time, copies of any responses or objections must be
         served so as to be received on or before the Objection Deadline upon the following parties: (i)
         proposed counsel to the Debtors, Young Conaway Stargatt & Taylor, LLP, 1000 North King
         Street, Wilmington, Delaware 19801 (Attn: Michael R. Nestor (mnestor@ycst.com), Joseph Barry
         (jbarry@ycst.com), and Joseph M. Mulvihill (jmulvihill@ycst.com)); (ii) proposed investment
         banker for the Debtors, Stephens Inc., Sachin Lulla (Sachin.Lulla@stephens.com); (iii) counsel to
         the A&I Stalking Horse Purchaser, Ballard Spahr LLP, 919 N Market Street, 11th Floor,
         Wilmington, Delaware 19801 (Attn: Tobey M. Daluz (daluzt@ballardspahr.com)); (iv) counsel to
         the EMX Stalking Horse Purchaser, DLA Piper LLP (US), 6225 Smith Avenue, Baltimore,
         Maryland 21209 (Attn: C. Kevin Kobbe (kevin.kobbe@dlapiper.com)); (v) counsel to the
         prepetition lenders, Mayer Brown LLP, 1221 Avenue of the Americas, New York, New York
         10020-1001 (Attn: Brian Trust (btrust@mayerbrown.com) and Scott M. Zemser
         (szemser@mayerbrown.com)) and Potter Anderson & Corroon LLP, 1313 N. Market Street, 6th
         Floor, Wilmington, DE 19801-6108 (Attn. L. Katherine Good (kgood@potteranderson.com)); (vi)
         counsel to the Official Committee of Unsecured Creditors; and (vii) the Office of the United States
         Trustee for the District of Delaware, 855 King Street, Suite 2207, Lockbox 35, Wilmington,
         Delaware 19801 (Attn: Linda Richenderfer (Linda.Richenderfer@usdoj.gov).

              PLEASE TAKE FURTHER NOTICE THAT A HEARING TO CONSIDER
         APPROVAL OF THE MOTION IS SCHEDULED FOR MARCH 8, 2023 AT 3:00 P.M. (ET)
         BEFORE THE HONORABLE CRAIG T. GOLDBLATT, IN THE UNITED STATES
         BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE, 824 N. MARKET STREET,
         3RD FLOOR, COURTROOM NO. 7, WILMINGTON, DELAWARE 19801.

              PLEASE TAKE FURTHER NOTICE THAT IF NO OBJECTIONS OR RESPONSES
         TO THE MOTION ARE TIMELY FILED, SERVED, AND RECEIVED IN ACCORDANCE
         WITH THIS NOTICE, THE COURT MAY GRANT THE RELIEF REQUESTED IN
         CONNECTION WITH SUCH MOTION WITHOUT FURTHER NOTICE OR HEARING.



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                 Capitalized terms used but not otherwise defined herein shall the meanings ascribed to such terms in the Motion.
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         Dated: February 10, 2023     YOUNG CONAWAY STARGATT & TAYLOR, LLP
         Wilmington, Delaware
                                      /s/ Joseph M. Mulvihill
                                      Michael R. Nestor (No. 3526)
                                      Matthew B. Lunn (No. 4119)
                                      Joseph M. Barry (No. 4221)
                                      Joseph M. Mulvihill (No. 6061)
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                                      Proposed Counsel for Debtors and Debtors in Possession




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